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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT

UNIVERSITAS EDUCATION, LLC
VS. NO. 3:20cv738(JAM)(RAS)

BENISTAR, ET AL. SEPTEMBER 14, 2021

SUPPULEMENTARY BRIEF IN OPPOSITION TO MOTION FOR CONTEMPT

Counsel for the plaintiff has sent a letter to the undersigned in which he
claims that the documents furnished in response to plaintiff's subpoena
constitutes a “document dump” of documents not described in the response and
not in fact responsive to the subpoena. It is anticipated that he will make that
argument at the remote conference scheduled for September 15. In response to
his claim, the attorney who prepared and submitted these documents has
furnished a copy of the descriptions provided the plaintiff respecting each and
every category of materials turned over. His response is attached hereto as
“Exhibit A” and demonstrates that, contrary to plaintiff's anticipated claim, Mr.
Carpenter in fact fully and fairly responded to the exceptionally broad requests

for documents contained in the plaintiff's subpoena.

 
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DANIEL CARPENTER

BY: /s/ (ct00215)
JOHN R. WILLIAMS (ct00215)
51 Elm Street
New Haven, CT 06510
203.562.9931
Fax: 203.776.9494
jnv@johnrwilliams.com

CERTIFICATION OF SERVICE

On the date above stated, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court's electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court's
CM/ECF System.

/s/ (ct00215)
JOHN R. WILLIAMS

 
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EXHIBIT A

 
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John R Williams

From: Jeff Sandberg <JSandberg@pamlaw.com>

Sent: Tuesday, September 14, 2021 10:33 AM

To: Dan Carpenter US; John R Williams

Cc: ‘Jeffrey Sklarz (jsklarz@gs-lawfirm.com)'’; Lawrence Grossman; gholmes@odglaw.com

Subject: RE: Original Carpenter Response to Carpenter Document Request Seven Requests
Universitas Education vs Benistar et al

Attachments: Sample Folders and Files Listings for 26 folders.docx

Good morning,

lam attaching a Word doc containing folder/subfolder and files examples.

We provided 26 numbered folders (see pg 1 of 25). The folders are numbered so we could keep track of them as we
uploaded them.

Each numbered folder typically has one subfolder that is descriptive. So for example, Folder 1’s subfolder is “Benefit Plan
Advisors” (see pg. 2 of 25), Folder 2’s subfolder is “Bill White” (see pg. 3 of 25)...

| then “screenprinted” a listing of the sub-subfolders and files for the first portion of each grouping. Some listings are full
listings because there are relatively fewer folders and files so that the listing fits on one page of my monitor screen.
Most files have file names, although if an Outlook/email file was not titled, Outlook simply numbers it.

So, contrary to Universitas’s misrepresentations to the Court, the folders are labeled. Additionally, Outlook files have the
title of the email/Outlook file from when it was sent.

The folder titles, to me, appear responsive to the document requests, particularly in light of the requests for documents
relating to the judgment debtors.

Thanks, Jeff

Jeffrey R. Sandberg, JD, MBA, CPA
Member of the Bar, Texas and Florida
Board Certified in Civil Appellate Law

By the Texas Board of Legal Specialization

Palmer Lehman Sandberg, PLLC
(formerly Palmer & Manuel, PLLC)
Campbell Centre i

8350 North Central Expressway
Suite 1111

Dallas, Texas 75206

(214) 242-6454 Direct Line

(214) 242-6444 - Main Line

(214) 265-1950 Fax
jsandberg@pamlaw.com

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Texas Board of Legal Specialization

To learn more about our law firm see our website at www.pamlaw.com

CONFIDENTIALITY NOTICE: This e-mail may be confidential and subject to attorney/client and attorney work product privileges. It is intended only
for the addressee. If you are not the intended recipient, please reply with a note informing us it was misdirected, and then delete this e-mail
message. Thank you.

From: Dan Carpenter US <dcarpenter@usbgi.com>

Sent: Tuesday, September 14, 2021 8:34 AM

To: John R Williams <jrw@johnrwilliams.com>

Ce: Jeffrey Sklarz (jsklarz@gs-lawfirm.com)' <jsklarz@gs-lawfirm.com>; Lawrence Grossman <lgrossman@gs-
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lawfirm.com>; gholmes@odglaw.com; Jeff Sandberg <JSandberg@pamlaw.com>
Subject: Original Carpenter Response to Carpenter Document Request Seven Requests Universitas Education vs Benistar
etal

Please notice the Seven Requests.....then original Manson Complaint of July 16th....and then current

Dan

 

From: John R Williams <jrw@johnrwilliams.com>
Sent: Wednesday, July 14, 2021 9:24 AM

To: Dan Carpenter US <dcarpenter@usbgi.com>
Subject: FW: Universitas Education vs Benistar et al

Just sent.

John R. Williams, Esq.

John R. Williams & Associates, LLC
51 Elm Street, Suite 409

New Haven, CT 06510

(203) 562-9931

From: John R Williams
Sent: Wednesday, July 14, 2021 9:22 AM

To: jlm0505@hotmail.com

Subject: Universitas Education vs Benistar et al

Attached are the sworn responses of Daniel Carpenter to the duces tecum aspect of your deposition subpoena, as
ordered by the court.

John R. Williams, Esq.

John R. Williams & Associates, LLC
51 Elm Street, Suite 409

New Haven, CT 06510

(203) 562-9931

 
 

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(ausq J0$ ppe y> ‘Wjo2Ur} 7-7607¥ ITY, JuBUABeUe|W WeYyeD apualuy 7f

(NIB) 2-2007s Why WeURBeuRly weyelo spusuy “f,

{ubysse jo jos ‘Ujooury) | -200%e FhuL eUAGeuRy WueYen spUaUY *f,

[aueg oded “uate Yy> WodUury) {-200Ze ISTUL quawaBeuep) weyPip apuauny Non

(NIT) |-200% 9M] jueWABeuRYy WEYyeID spuaslUy “f,

L-2002 Fny, juawaBbeury vayy Z,

(onON wnEEL ON) VEX ‘E-BOGee IsNyL WHUAaBeURLy UalTy TL,

(@buey> aye ‘ON DOW E-e00e# IM WaWABeUEYy LaIDy

faGuey> apn ‘OMI DDN Z-e00ee IN uauabeuay vdiy Y,

(uBisse jo fa ‘ORI DOW 2-BO0%e Joray juauaBeueyy wary YL,

UzuMo UP ‘Ujo2Ury) DOW ‘|-Bd0gs HNUL uawWaGeuRyy uapy %

(QQuatuesiopug Aojepusuny Wysueg UjoourT) DIA “L-BOdzae SOL, quawabeugy usypy Lon
Qadiazay quswudeg jeuoUIPpYy Wyeuag UYOOUH) ID ‘L-BoOT# ITU juaUaBeuRyy Uap 7f,
(uoneuuopyy Agog IYRUE BODUN) IW ‘L-sodes BML weUsBeueyy UdINy
Qdiosy jusudeg jeuoUippY Weu|g UjOIUN) DOW ‘L-aodes WNy WoWabeuRA UaITY |
{2aumo 103 ppe Jo YD} UODUT] DW L-BOCTS WNW] wewabeuey Vayy Ly

(auag 20) ppe Jo Y>) WjODUL] DD L-BOGes NUL tuoLUaBeuey UaYY Y,

(Bisse yoo ‘WjoDUry) SOW L-Bodzs wy JuBWAGEUPLY LOITY fy

fauag 204 ppe Jo yp ‘YjODUIT) JW L-Booes Ny aUabeUEYy LAITY

{aug yp “WjooUTT} OW L-Bdeze My wewWebeveyl Ualy “L,

L-200Te FN jusuabeuwpy uaypy

(aGuey diysieumo ON!) WAX ‘E-BG0E # ISNaL wRMABeUEYy way

(a20N WNBA ONY) WAX Z-BOOe 4 ISN, wawabeuey uajpy “f,

faBuey> diysiaumg ONI) U3X Z-BO0? # SNL waABeuey] valy |,

(ang quaideg jo saoOK By] Wyeveg UlOIUT) YIX “L-BO0? #IML quswaBbeury uaypy
(@onoL ydiezay urna 9317 WBS BINT) YaX ‘|-BO07 e HMw awWabeveyy Udy fy
(pantaras quauideg Jo UOeUULZUO> 2417 30J9Uag LJOIUT] ) YRX ‘L-BOOT # ISN Wawabeueyy Udy “~,

 

 

 

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(uewsuing Aryog ayy yeuag Uoour] ) Yay ‘BOOZ # Her] TuaWABeUEW UAlDY
(quawuazeys sonjen A2110d ONL) WAX 'Z-B002 # FN, waLUDeuey Ua[ly “f,
L-200¢e BTU) uswaBbeueyy prq(y “py
Qaumo sue ‘reudesued) | -200Z¢ NW JaLUabeueyy Wooly -f,
soyou waid ‘ewesuey) |-/QO7s BTUL aWaBeueyy peqry fp,
{e2nou usd ‘owesued) |-{002¢ ISN Wawabevey Pagiy YZ,
(ada) b-2007e iru] weweBbeueyy Veqy op,
L+£00Ze IMU uawaBbeuey ueddoyy YZ)
(lade) 1-200z@ Bruy RwaGeueyy uekdoyy “f,
2-20022 Wu juawaBbeuey wagy -f,
Godey pue auag ‘diysiaumg jo sbueyd Ded) DW '2-L6078 BML quawiabeuey Wayy “be
(i9Dw) 2-200e4 asNy WawaBeueyy weyy “fy
(a2j0u wasd 3yr] 52g) 2-{00ze WNL Wawabeveyy wayyy he
(opr od Sy] eg) 2-2 002s ISN, Waluabeueyy Way Z,
(Nia) 2-200¢2 Fu] juswaBeuryy wouy “fy
b-2002e 3StUL uaUAaBeuey Way “Z,
(diyssaumg jo saysuied, ’sued) DOW *L-2007e ISMUL UaWABeLEYy Wayy hs
Quawuazeys jod ‘wesued) DW L-200Ze IML uawaBeuRy wayyy “7,
{aojou uswid Wesuely) (-2002e STL wa WwaGeury weayy 7%,
(i@D¥) L-2oozs 3M juaWaBeURYy Wauy 3,
(NIB) L-zoods 3st) uouabeuRy way "E,
{aug JAUMo YD “UjOsUlT) DOW IsNU, JuaWaBeuepy iueapy -f,
1-200@s MUL Justa Beueyy wespy ~~,
f@nyjou Wresd “ujosury) |-2002¢ IML quowsieury espy “he
QuauuazEys UUe “Ujooury) |-29078 BL qJuausaBeuepy wespy a
(NIA) 1-2002e ISL wueLUaBeUey 1uerpY ~Z,
{OU ODIN-I9D) |-Zo0ze Ir4] uBUaAeuey eApy "Ey
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faonou userd SyraIN) DW SNL UaAbeURyy wOPdY ~~,
Quawezeys uve “Bp TRA) DOIN BN uawabeuepy enojaqy *p,
1-200 ysNu] uaWaBeueyy sojaqy YZ,
(ogur od “apryayy) nu uawaGeueyl aropqy hy
1-100» Wray juatuaBbeuey arcjaqy
(aBuey> auag 2g diysiaumg ay VAN) DD ‘L-200ee ST] UsUABeUeyy) arop—gy "f,
(lade) b-2ooee nw qowaBeueyy arojegy "p,
s20q ysny, uawuaBeuey paeyrztig

 

 

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Case 3

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satn0g uadg uosy

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‘go0zs Na, JusMaBeuey| yonquasy YL,
9008 # 3NUL qawaBeuey wnqary
2007 # BTL juawabeueyy yanqany yy
B00? = BNL WewaBeueyy y>nqiany
9002 # ISM] uswWabeuepy yonqiary yy
9007 = wn juawaBbeuepy yongiasy Y,
900Z ¢ YSN quauaBeuey Ynqany Y,
3007 + SMU, juaaBeugy) yonquaay y,
2002 # JUL quawabeuey ysnqieny
9007 # TUL JaweaBeuryy yonqiany YZ,

 

 

 

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DOW '2-2002e Jotul wubyy vosULTY Z
DOW Z-2002s oral WEY HosUIIaY “fy
DOW ‘L-2002e ‘Stuy wwbyy uosunay Z,
DOW ‘L-z0oze Ysruy Wb UosUNY SZ,
{Z-200z# Hy juawabeurly uosuDay Y,
L+2002 8, usueBeueyy vosumay YZ
=£007x MUL Juaebeueyy UOsUDAY “fy,
“-200C# WAL jusDBeuayy uosulary
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2002 # Fora, JuoussBeuryy uosuMpY "p,
~£002 # TN) jUsWabeuRyy uOSsUy “f,
“2002 = ISMUL juaWabeUEW VOSUDY
“2002 # Jory Jusubeuey uosUD yf,
+2002 # BTUL uauaBbeuay vosuayy Ge
~200 # IsNyy juauaBeurw uosuMY y,
“£002 2 Jsnay juUsWaBeuR UosUDTY “f,
“2002 = SNY JuBWaBeURW YosUEpY JZ
~2002 # FN uauAGeueyy uosuMY Y,

eS3|A] < ZL J8plO4 (BE2-INWT--LD) SeusieAur] saquadie)

(uoday Liewuuns quawayeys Ayog eruaueUes) ) DIY “2-2007 e IMU! WaWabeue,) LOSUDDY %,
fanjen Aoyog jo junuazeys RoeURSUEs) IOW ‘1-2002 # FAL uaWaGevey UasUDpy “A,
fang uiniuald 0 22Ofy URIUEMIeTeLL ) DIN ‘L-2002 ¢ NUL HeLUEBeUuey UosuDAY “Y
(Qganbay vogesysnyy| esuawesuey ) IW “| -L007 # BN, uawabeuey uosuopy “f,
(diyssoumg jo abury eouawesuedy ) IDI ‘L-200e ¢ BTL weUMGeuew uosupay
(diyumg jo suey esuauiesuey ) >>I ‘L-200e = SN] WewWabeuepy LosuDpY “Z,
(Quawiajeys Jsanbas UaQesny| UedueWesUuel ) DOW ‘2007 # FALL swab rUeYW LOsUNAY
[2220p] BPUIUaY LuNtudadg erUsWeSURL ) DDYY ‘2002 ¢ SUL TAWebeuep) UOSUMY Z,
(@rNON WuNiWadg eDUAWESUeL ) DOW “2007 se WNUL JuawMaBeuey uosUdyy YF,

faaRony ang Luntuerg UesuaMesued)) DIP 'L-Z007 w WRU, FUsWeBeURy UOSUNY ts
(Guawasiopug saBiayy eousuesued) DOW ‘| -2odce ‘Wry RUB uowsy

iabuey> paysenbay jo wuyuod ‘sueI} JO ‘L-200ze sR By UOIsy “Z,

{aM YD “UURSURIL) DD] €-L00T¢ BTUL aUsBeLey UOysy -y,

(auMO YD ‘UBSURI) DIA Z-2007H RU JUBuab euRy LOWSy Xe

(arjay, Gyo yo Juawaperg SUR) DOW '|-LOdze BAL ueureBeuey] uoWsy “Z,

(S2RON waneag ‘sueW) DOW ‘L-LOOzs IML WaunBeugyy uowsy °F,

(a2ou Japuluas Winiuaid eouauiesuRl } DIWY “L-200g = BML WaLueBeueyy uoqysy °F,
{anon ang UunswWalg eouawWesURY ) D> ‘L-2007 ¢ Werul JuoUASeuE LOTYsy 7,
fabuey diysraumy eouauiesued, ) D3 ‘L-2002 2 BrUL euUABeuey vowysy YZ

LL-O) equascag Jag penyis erpayy jer09 “jenes” Suyag sseAojdusg inot any
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aBbemao ajqeypals WinuduU SpPSNYresse|A| ‘Saas eMaua JuaUyUOddy

 

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quad 10) preumpede

(aubg “YUAO YD “LINDE WXY) DOW 1-200Ze 32M juBuDBeUEW AUyOINY “f
{snpi ‘Aad Jo 29a 4inbg yxy) DOW My wawabeuey) Auaguy

(sry quay “02 jo san Yinb>Z wry) DOW Wry uaMabeuRy AuoWWY
010g Bz ver - Bepdy JosiInpyy jNaIPaUUAD WaMY (3)

Liog Saenageg arepdy somapy wayguy [27

pafoig Ar

frmuaKo YD “UjOIUTT) JIA Jsnuy uawaBbeukyy WeYyeD-spuswuy ~,
(Qdiezas ward “uo3ury) DOW ‘Z-2007s hu uaaBeuryy weyesp-apuawy f

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(abuey? ann OND DDN E-BoGes Bnd, weaaBeueyy Uday “Z,

{uBisse 4o 723 ‘Si DI 2-BOdes NUL WouaBeney vay,

(s8umo YD “UjorUND) DOWN “L-BaOTe WML usWabeuRW Uy “fC,

Quawwesiopuy Loyepuauny Qyausg UjosUIT! JD ‘L-B0G2s 1903, quawaBbeuryy vay “ee
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{uoreusogu] Adyod Yyauag ULODUTT) IH] ‘L-g00Te HNL jeUBeuEly UaPpy Ey
Qdiesay waudeg jeuonppy ‘Wavag WYjoIUT) TOW ‘L-RddZe IsNaL Wawabeuey Udy fp,
(3uMo 10} ppe jo UD} UODUT] DOW [-BOCee MY] jusWaBeLEYy Uajry f,

fauag 20) ppe jo 4>} wjorUr] DIY L-BoGes IsNUL WaLUaSeveW Ualfy “f,

(uBysse 10> *ujO2UN7) DOW |-LO0CZ# IMAL JuauaBeuey Ualiy

{euag 204 ppe yo y> ‘UjODUN}) DIN L-BOdes MHL jusUsBeuEpyy UY YL,

fauag y> “ujoruyy} DOW L-soded Jona wawabeuey vayy Y,

BuO? ily Loy

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PURO? fy AI

okeg pur “eueg ‘diystaumo je aBuey> ‘2eg) SOW ‘2-2007e FRU juaLSeueyy wayyy
{diysIaUMO Jo Tepes, ‘SURIL) DIA) ‘L-20072 TUL HAWaBbeuey UBYY YL

(Qquavuayeys jod ‘uiesuiey) IQ L-200ee ML Juawaieuey uoyy bo

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(ouag “WBUMO Yo “UODUNT) DIN ena] quswaSeueyy teapy 7

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0} MAIN Surjawias nod sacdg ~ ‘Uz]|q SSBUISNG ELOZ AMOK 03 a1e> JeOIPaPY P3410 PPY [23
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faoyou Aenud SpA) Odi Wry JueuBheuEly asopaqy a

(2agou wad 377A) DD MUL JUBA euayy aAcmEY “y,

(Quanuayeys uae Oy HRY) DOW ISM WatuaGeuey aro~aqy yf,

(eBueyD aug 3g diysieUmg SYTRIA) DI ‘1-200Ze YUL jusuBBeueyy sromay “f,
pied pipasr (yjRouatury jo yueg ned 0] apesbdn Asquaujdiued y {;

 

 

  

 

  

 

  

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( yuauayeys sisKjeury saW9ysND 4UIeg S/y) SeBIYY “NUL BUPINsY] 7 B07 WIPE yy
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(quawuazers yueg Sr) sepyA) Fn s2ueINSUL “2~-BQ0T #/PHPE Ln

Guauuazers yuegsy ) sepiyy Ysnul souRunsul gg07 ¢ FHPg “P

(quausazeys Aienigay yueg Sr) SepliAl “Ins, e2uensul BOGT = Jas “L,

Quauayeyg ssousng yuRg $n) SOI 35M BouRINSU| BaGZ TOseR “

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(yey os punoy a4,| s350)> “Fy

    

{g)ie} OF PUNOp 3A) Wss0/5 Sy
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Case 3

 

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(Z)Buxy Gunay-wunpuesowayy Suypung jevdess (359 “ay
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Case 3

  

 

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{puoyequauinseg Bussoy5 pur Soyog jeurBug jo Asayag "3Y (x)

 

    

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L10z-S1-21 - § ysanbay quawAeg wnuarg “payajdwod “3y (2)
(P)LLOZ-G1-21 - § Wanbay qauseg wwe. “peyjduio> “Ty
(E)LLG2-SL-Z1 - ¢ 3senbay weurtey winmadg “paya|duuo> “3y
(2) LLez-SL-21. - § wenbsy quauXey uonuerg “payediwoD “Fy (2)
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4B] OF PUNDY BA] S950] “Jy

 

   

 

 

 

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(ge} 95 Puno} aA, JAaS0]> “FY (5)
{ques os pUNoY 3A, JSAaSO[> “Sy [
{§)42} 05 pUTIG, 9A, JSB5O)> “Sy [=

    

(p)ie} 06 pun] as, yasop “ay

(gue) os puny aA] 5950/9 “Fy

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{194 pay “yrenbay sayy pang yoru yydeD usuEd, “Md

 

  

 

      

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(preg os punog aa 35980)2 “4 C5)

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Case 3

GZ 40 17 aded

sabeyped Burpung [24
(Q)seBeyped Buipung (5)
U)se6ex2ed Gurpung

    

Ay yaBuis yy seGex2eq Buipung
AA a aBuis Ww sebepey Buipung [23
SO'p LL eee Buipung [57

6O'S'GL sehexzed Suipuny

60'L1'6 Sebey2eg Bupung (2)

JeXLSNYy ‘EG'92"3 saBeysed Buipun; (23
60'pz's s962y2eq Buipuny [5

7 saburs ‘gorel'a sebey2eg Buspung
aig ‘ssiy go'z 1's S#beyaug Buypung [43
60°9°g saBey>eg Buipuny [Q

60'S L1 95eyseq Buipung [oy

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sous Suipung

 

 

By JUBWaSINgSsIg WD Away) Burpung ta
IH Yorpruysu) Burpuny [3:1
SPCBINPB YDS 459 W044 |

             

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MANUO> (23)
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239) PAY ONINYVAY Li

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CAIN TQ YREBS oy Pala

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uOnDesuel YLT
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AID pue poomabpry uassyaq saunpa201g Burpung pasuay fs)
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Gd 10) B44 Nd Fa

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dp yas qunos2y INd “JY

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slapues G9 - OSLPOLIC Fa CS

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MOIDSZ NA BUN Je CS)

s3Y3] UBUD pue ysanbay Buipuny ey [2]

 

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iy Benbay qsiq 7 OWA Burpuny “axINL Yy wasuED Bunse_ SAYIA SaIy Bumpewwg “Jy cy
(zezz-4any) Surpury - 105 “Fy

JSMUL YeQ. JapeYyD By [Rs

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Case 3

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SVHOAU] ISNA ALO WHEYD “Wd “Ald “IVES
spanbay Bupung “gy 6

  

se}e] WaLUpLUWOD pue ysanbay Suipuny “ay
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soma Sutpuny “Jy

away Suipany “3y (2)

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(ghunpueiowayy Suipung jeyde> yin BUD ES
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({juinpueiousayy Buypuny peace quay Iu)
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uopiey (x)

Man-owuayy Gulpung JIN

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a BYISMYY TAA

s0'r LL sabeyaeg Surpuny sioyy “Ad

Qe FLEO2§ woudeg ATU “ML

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GQ) sebeypey Burpuny Ausay ‘pure ueLaplenA 103 (21

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sHeyp PeyUO> [2]

Jaye] aL PULWS>

WAL SUD HO FHEYD 2

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Aepoy dn Guryrqea csi

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aa Md “MS ONING

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Snpolg $209 (BE2-|NYI--LD) SeHSBAIUA JajUsdue> < pep, ¢ (4) Gevuas\\y ee

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Te] TIPU? Ty “FY
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euipjey, ayepdn Aay “3y (2)
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